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 7

 8                              UNITED STATES DISTRICT COURT
 9                                      DISTRICT OF NEVADA
10
   SUNBURST SHUTTERS NEVADA, INC., a                     Case No.
11 Nevada Corporation,

12          Plaintiff,                                   COMPLAINT FOR DAMAGES AND
                                                         INJUNCTIVE RELIEF
13
     v.
14

15 BLACKJACK BLINDS, INC, a Nevada
   Corporation,
16
         Defendant.
17

18          Plaintiff Sunburst Shutters Nevada, Inc. (“Sunburst” or “Plaintiff”) complains against
19 Defendant Blackjack Blinds, Inc. (“Defendant”) as follows:

20
                                   1.        NATURE OF THE CASE
21          This is an action for trademark infringement, unfair competition and trademark dilution
22 under federal statutes, with pendent state and/or common law claims for trademark infringement,

23 trademark dilution, deceptive trade practices, and intentional interference with prospective

24 economic advantage. Sunburst seeks damages, attorneys’ fees, costs, preliminary and permanent

25 injunctive relief.

26
                                        2.      JURISDICTION
27
            1.      This is an action for trademark infringement and unfair competition arising under
28
     the Lanham Act, 15 U.S.C. § 1051, et seq., as amended and under Nevada statutory and common

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 1 law.

 2          2.         This Court has subject matter jurisdiction over this case pursuant to 15 U.S.C. §

 3 1121 and 28 U.S.C. §§ 1331 and 1338(a) in that these claims are brought to determine a question

 4 of actual controversy between the parties arising under the trademark and unfair competition

 5 laws of the United States. This Court has supplemental jurisdiction over Sunburst’s state and

 6 common law claims pursuant to 28 U.S.C. § 1367(a).

 7          3.         This Court has personal jurisdiction over Defendant based upon the fact that

 8 Defendant resides in the State of Nevada, is incorporated under the laws of the State of Nevada
 9 and conducts continuous business within the State of Nevada.

10          4.         Venue properly lies within the unofficial Southern District of the United States

11 District Court for the District of Nevada pursuant to 28 U.S.C. § 1391.

12                                              3.     PARTIES
13          5.         Plaintiff Sunburst is a corporation organized under the laws of the State of
14 Nevada with its principal place of business at 10091 Park Run Drive, Suite 190, Las Vegas, NV

15 89145.

16          6.         On information and belief, Defendant is a corporation organized under the laws of
17 the State of Nevada, with its principal place of business at 3917 Sweet Pine Street, Unit 101, Las

18 Vegas, NV 89108.

19                4.        FACTUAL ALLEGATIONS COMMON TO ALL COUNTS
20
             A.        Sunburst and its Federal and State Trademark Registrations
21          7.         Sunburst is a famous source for window treatments. Sunburst was one of the first
22 to offer a shop-at-home sales program for window treatments where design professionals brought

23 samples into the home to guide customers into selecting the best product for their home. In

24 addition, Sunburst is recognized for its superior sales staff and product offerings. The result of

25 Sunburst’s diligent efforts to offer top quality products and excellent customer service is a

26 nationally recognized brand.

27          8.         In an effort to satisfy customer demand and be on the cutting edge of window
28 treatment offerings, in the 1990s Sunburst set out to create the ultimate shutter, one that would


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 1 elevate quality, provide superior energy efficiency, and retain its beauty for many years.

 2 Sunburst’s diligent efforts – including research, sampling, and testing – eventually led to the

 3 creation of the nationally recognized Polywood Shutters, the first shutters incorporating cellular

 4 vinyl extrusion offered to the consuming public.

 5          9.         Unlike traditional shutters, Polywood is a synthetic cellular vinyl extrusion

 6 material that resists warping, cracking, and splitting. Sunburst discovered a unique method for

 7 painting shutters that baked the paint on the material for a more durable finish. This process

 8 ensures that the paint will not fade, even in the hottest climates. Polywood was also designed
 9 with numerous insulating benefits, including, inter alia, weather stripping, solid core

10 components, and heat reflective paint.

11          10.        The result was phenomenal for Sunburst, and Polywood fueled the company’s

12 growth. At that time, shutters were quickly becoming a popular window treatment, and

13 Sunburst’s brand – known for its high-quality products and exceptional customer service – was

14 on the cutting edge and dominated the shutter market.

15          11.        More recently, in 2008, Sunburst expanded its product offerings to include blinds,

16 shades, panel track systems, window film/tint, and more. Each of these window products is

17 made with the Sunburst strategy of offering better quality products.

18          12.        Sunburst also sought to protect its intellectual property throughout this process.

19 To that end, Sunburst is the owner of 14 federally registered trademarks on the Principal Register

20 of the United States Patent and Trademark Office, including, inter alia:

21                a.     POLYWOOD: Registration No. 1798693 for “non-metal building and

22                       construction materials; namely, composition building panels;” and

23                b.     POLYWOOD SHUTTER: Registration No. 4284838 for “window coverings,

24                       namely, shutters fabricated of synthetic material; non-metal window shutters.”

25 Copies of the foregoing registrations are attached as Exhibits 1-2, respectively, and incorporated

26 by reference herein.

27          13.        Since at least as early as 1992 and 1993, Sunburst has used the respective

28 POLYWOOD and POLYWOOD SHUTTERS marks in connection with Sunburst’s Polywood


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 1 product offerings.

 2         14.      In addition, Sunburst also owns registrations in the State of Nevada for the

 3 POLYWOOD mark, a copy of which is attached hereto as Exhibits 3, respectively, and

 4 incorporated by reference herein. Furthermore, Sunburst also owns common law rights in these

 5 marks. All of the aforementioned marks are collectively referred to herein as “SUNBURST

 6 Marks.”

 7         15.      Sunburst’s federal and state trademark registrations have not been abandoned,

 8 canceled, or revoked. Moreover, Sunburst’s POLYWOOD and POLYWOOD SHUTTERS
 9 federal trademark registrations have become incontestable through the filing of Section 8 and 15

10 affidavits in the Patent and Trademark Office.

11         16.      Based on its federal and state trademark registrations and extensive use, Sunburst

12 owns the exclusive right to use the SUNBURST Marks in connection with its goods in the

13 United States.

14         17.      Further, the SUNBURST Marks have become distinctive and famous in the

15 United States for shutters and other window dressings. SUNBURST Marks have acquired a

16 special significance and meaning to the consuming public as identifying Sunburst as the source

17 of origin of goods that bear the SUNBURST Marks.

18         18.      Sunburst has spent substantial sums of money to advertise and promote

19 SUNBURST Marks in print, broadcast media, and on the Internet.

20         19.      Sunburst used each of the SUNBURST Marks in commerce long before the acts

21 of Defendant complained of herein.

22         B.       Defendant’s Unlawful Actions
23         20.      Defendant has a long history of infringing upon the SUNBURST Marks in an
24 attempt to confuse consumers and trade off of Sunburst’s fame and notoriety.

25         21.      To that end, Sunburst has caught Defendant improperly using the SUNBURST
26 Marks on several occasions. For example, Defendant has provided quotes and correspondence to

27 potential customers claiming to provide POLYWOOD shutters. Defendant’s use of

28 POLYWOOD is a clear attempt to confuse consumers into believing Defendant’s shutter


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 1 products are associated with, or authorized by, Sunburst. True and accurate copies of the quotes

 2 and correspondence are attached hereto as Exhibits 4-6 and incorporated by reference herein.

 3          22.    On information and belief, Defendant operates a website located at

 4 www.blackjackblinds.com where Internet users can purchase window shutters and other window

 5 covering products offered for sale by Defendant.

 6          23.    On information and belief, Defendant’s website is available throughout the United

 7 States, and is accessible to Internet users in Nevada.

 8          24.    Sunburst has discovered that Defendant is improperly using the SUNBURST

 9 Marks on its website by claiming to provide POLYWOOD shutters. Defendant’s use of

10 POLYWOOD on its website is a clear attempt to confuse consumers into believing Defendant’s

11 shutter products are associated with, or authorized by, Sunburst. True and accurate copies of the

12 photographs showing the entire webpage are attached hereto as Exhibit 7 and incorporated by

13 reference herein.

14          25.    On information and belief, Defendant’s use of the SUNBURST Marks as

15 described above was and is an attempt to create an association between Defendant’s products and

16 SUNBURST Marks and Sunburst.

17          26.    Defendant is not affiliated with and is not authorized by Sunburst to use any of

18 SUNBURST Marks in any manner, including, but not limited to, Internet advertising,

19 promotions, or brochures, to promote or market Defendant’s products, and in response to

20 inquiries regarding Defendant’s products.

21          27.    By utilizing SUNBURST Marks in the manner described above, Defendant is

22 attempting to trade on the goodwill of SUNBURST Marks and Sunburst’s reputation.

23          28.    By utilizing advertising containing SUNBURST, Defendant was and is attempting

24 to create an association between its product offerings and SUNBURST Marks owned by or

25 affiliated with Sunburst.

26          29.    Defendant is not affiliated with and is not authorized by Sunburst to use any of

27 SUNBURST Marks in any manner, including, but not limited to, in connection with advertising

28 its www.blackjackblinds.com website domain, in the bidding process, and/or product offerings


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 1 or advertising.

 2          30.       By purchasing advertising containing the SUNBURST Marks, Defendant is

 3 attempting to trade on the goodwill of SUNBURST Marks and Sunburst’s reputation.

 4          31.       By utilizing advertising containing SUNBURST, Defendant was and is attempting

 5 cause initial interest confusion and create an association between it and Sunburst.

 6          32.       By utilizing advertising containing the SUNBURST Marks, Defendant was and is

 7 attempting to frustrate or divert Internet traffic intended for Sunburst.

 8                                     5.      CLAIMS FOR RELIEF
 9                                           First Claim
                     Trademark Infringement under the Lanham Act, 15 U.S.C. § 1114
10
            33.       Sunburst incorporates the allegations in the preceding paragraphs as if fully set
11
     forth herein.
12
            34.       Defendant has used and/or is using in commerce SUNBURST Marks, and, thus,
13
     are confusingly similar to Sunburst’s federal registrations for these trademarks.
14
            35.       Defendant’s use in commerce of SUNBURST Marks and/or marks confusingly
15
     similar to these trademarks for their products, and to direct consumers to Defendant’s website
16
     through a paid advertisement designed to cause initial interest confusion, constitutes a
17
     reproduction, copying, counterfeiting, and colorable imitation of Sunburst’s federal trademark
18
     registrations in a manner that is likely to cause confusion or mistake or is likely to deceive
19
     consumers.
20
            36.       By using the SUNBURST Marks and/or marks confusingly similar to Sunburst’s
21
     federally registered marks, with the knowledge that Sunburst owns and has used, and continues
22
     to use, its trademarks across the United States, Defendant has intended to cause confusion, cause
23
     mistake, or deceive consumers.
24
            37.       Defendant is using marks that are the same and/or confusingly similar to the
25
     SUNBURST Marks in connection with the sale, offering for sale, or advertising of services in a
26
     manner that is likely to cause confusion or mistake, or to deceive consumers as to an affiliation,
27
     connection, or association with Sunburst, or as to the origin, sponsorship, affiliation or approval
28


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 1 of Defendant’s commercial activities by Sunburst.

 2          38.     Defendant is also using marks that are the same and/or confusingly similar to

 3 SUNBURST to cause initial interest confusion and divert Internet users away from Sunburst’s

 4 website and to Defendant’s website.

 5          39.     Defendants’ use of the SUNBURST Marks and /or marks confusingly similar to

 6 the SUNBURST Marks has created a likelihood of confusion among consumers who may falsely

 7 believe that SUNBURST Marks are associated with Defendant, or that Sunburst sponsors or

 8 approves of Defendant’s services or commercial activities.
 9          40.     As a direct and proximate result of Defendant’s infringement, Sunburst has

10 suffered, and will continue to suffer, monetary loss and irreparable injury to its business,

11 reputation, and goodwill.

12                                          Second Claim
                          Unfair Competition and False Designation of Origin
13                            under the Lanham Act, 15 U.S.C. § 1125(a)
14          41.     Sunburst incorporates the allegations in the preceding paragraphs as if fully set

15 forth herein.

16          42.     Defendant’s use in commerce of marks that are the same and/or confusingly

17 similar to the SUNBURST Marks in connection with Defendant’s website and website

18 advertising, as well as Defendant’s products constitutes a false designation of origin and/or a

19 false or misleading description or representation of fact, which is likely to cause confusion, cause

20 mistake, or deceive as to affiliation, connection, or association with Sunburst, or as to the origin,

21 sponsorship, affiliation or approval of Defendant’s commercial activities by Sunburst.

22          43.     Defendant’s use in commerce of Sunburst’s SUNBURST Marks and/or marks

23 confusingly similar to these marks with the knowledge that Sunburst owns and has used, and

24 continues to use, its trademarks constitutes intentional conduct by Defendant to make false

25 designations of origin and false descriptions about Defendant’s commercial activities.

26          44.     As a direct and proximate result of such unfair competition, Sunburst has

27 suffered, and will continue to suffer, monetary loss and irreparable injury to its business,

28 reputation, and goodwill.


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 1                                        Third Claim
            Trademark Dilution under the Federal Anti-Dilution Act, 15 U.S.C. § 1125(c)
 2
            45.      Sunburst incorporates the allegations in the preceding paragraphs as if fully set
 3
     forth herein.
 4
            46.      Sunburst’s trademarks are inherently distinctive. Through their adoption and
 5
     consistent and extensive use, Sunburst’s trademarks have acquired fame.
 6
            47.      Defendant began using marks that are the same and/or nearly identical to
 7
     SUNBURST Marks in connection with their commercial activities after these marks became
 8
     famous.
 9
            48.      Defendant’s use of SUNBURST Marks and/or marks nearly identical to these
10
     marks has and will cause dilution of the distinctive quality of Sunburst’s federally registered
11
     trademarks and will otherwise cause irreparable injury to Sunburst’s business, reputation, and
12
     goodwill.
13
            49.      Upon information and belief, Defendant’s use of SUNBURST Marks and/or
14
     marks confusingly similar to these marks was willful in nature, in that Defendant willfully
15
     intended to trade on the reputation of Sunburst or to cause dilution of the SUNBURST Marks.
16
            50.      As a direct and proximate result of Defendant’s dilution of the SUNBURST
17
     Marks, Sunburst has suffered, and will suffer, irreparable injury to its business, reputation, and
18
     goodwill.
19
                                            Fourth Claim
20                        State Trademark Infringement under N.R.S. 600.420

21          51.      Sunburst incorporates the allegations in the preceding paragraphs as if fully set

22 forth herein.

23          52.      Sunburst holds State of Nevada trademark registration for POLYWOOD

24 (“Sunburst’s Nevada Mark”), as discussed supra and evidenced in Exhibit 3.

25          53.      Defendant has used and/or is using Sunburst’s Nevada Mark, or marks

26 confusingly similar to Sunburst’s Nevada Mark, in the State of Nevada. Such use is in

27 connection with Defendant’s commercial activities, including, but not limited to, Defendant’s

28 products, its website, and Internet advertising.


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 1          54.      Defendant’s non-consensual use of Sunburst’s Nevada Mark, and/or marks

 2 confusingly similar to Sunburst’s Nevada Mark confuses consumers, constitutes a reproduction,

 3 copying, and/or counterfeiting, and is a colorable imitation of Sunburst’s Nevada Mark in a

 4 manner that is likely to deceive consumers.

 5          55.      By using Sunburst’s Nevada Mark, and/or marks confusingly similar to

 6 Sunburst’s Nevada Mark, with the knowledge that Sunburst owns, has used, and continues to

 7 use, its trademarks in Las Vegas and across Nevada, Defendant is likely to cause confusion,

 8 cause mistake, and/or deceive consumers as to the origin, sponsorship, affiliation or approval of
 9 Defendant’s commercial activities by Sunburst.

10          56.      Defendant’s use of Sunburst’s Nevada Mark causes initial interest confusion and

11 diverts Internet users away from Sunburst’s website.

12          57.      Defendant’s use of Sunburst’s Nevada Mark has created a likelihood of confusion

13 among consumers who may falsely believe that Defendant’s website and commercial activities

14 are associated with Sunburst, or that Sunburst sponsors or approves of Defendant’s website or

15 commercial activities.

16          58.      As a direct and proximate result of Defendant’s infringement, Sunburst has

17 suffered, and will continue to suffer, monetary loss and irreparable injury to its business,

18 reputation, and goodwill.

19                                           Fifth Claim
                             State Trademark Dilution under N.R.S. 600.435
20
            59.      Sunburst incorporates the allegations in the preceding paragraphs as if fully set
21
     forth herein.
22
            60.      Sunburst’s Nevada Mark are inherently distinctive. Through their adoption and
23
     consistent and extensive use, these marks have acquired fame in the State of Nevada.
24
            61.      Defendant began using marks that are the same and/or nearly identical to
25
     Sunburst’s Nevada Mark in connection with their website and other commercial activities after
26
     Sunburst’s marks became famous in the State of Nevada.
27
            62.      Defendant’s use of marks that are the same as and/or nearly identical to
28
     Sunburst’s Nevada Mark has and will cause dilution of the distinctive quality of Sunburst’s

                                                      9
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 1 Nevada Mark and will otherwise cause irreparable injury to Sunburst’s business, reputation, and

 2 goodwill.

 3           63.      Upon information and belief, Defendant’s use of Sunburst’s Nevada Mark and/or

 4 marks confusingly similar thereto was willful in nature, in that Defendant intended to cause

 5 dilution of Sunburst’s Nevada Mark or willfully intended to trade on the reputation of Sunburst.

 6           64.      As a direct and proximate result of Defendant’s dilution of Sunburst’s Nevada

 7 Mark, Sunburst has suffered, and will suffer, irreparable injury to its business, reputation, and

 8 goodwill.
 9                                          Sixth Claim
                                  Common Law Trademark Infringement
10
             65.      Sunburst incorporates the allegations in the preceding paragraphs as if fully set
11
      forth herein.
12
             66.      By virtue of having used and continuing to use SUNBURST Marks, Sunburst has
13
      acquired common law trademark rights in the SUNBURST Marks.
14
             67.      Defendant’s use of marks the same and/or confusingly similar to SUNBURST
15
      Marks infringes Sunburst’s common law rights in SUNBURST Marks and is likely to cause
16
      confusion, mistake, or deception among consumers, who will believe that Defendant’s
17
      commercial activities and/or Defendant’s website originate from, or are affiliated with, or
18
      endorsed by Sunburst, when, in fact, they are not.
19
             68.      As the direct and proximate result of Defendant’s infringement of Sunburst’s
20
      common law trademark rights under Nevada and other common law, Sunburst has suffered, and
21
      will continue to suffer, monetary damages and irreparable injury to its business, reputation, and
22
      goodwill.
23
                                             Seventh Claim
24                          Deceptive Trade Practices under N.R.S. § 598.0915
25           69.      Sunburst incorporates the allegations in the preceding paragraphs as if fully set

26 forth herein.

27           70.      Upon information and belief, in the course of conducting its business, Defendant

28 knowingly made false representations as to an affiliation, connection and/or association with


                                                       10
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 1 Sunburst by using a mark identical and/or confusingly similar to SUNBURST Marks as set forth

 2 in detail above, and otherwise engaged in deceptive trade practices.

 3          71.    As the direct and proximate result of Defendant’s deceptive conduct, Sunburst has

 4 suffered, and will continue to suffer, monetary damages and irreparable injury to its business,

 5 reputation, and goodwill.

 6                                          Eighth Claim
                   Intentional Interference with Prospective Economic Advantage
 7

 8          72.    Sunburst incorporates the allegations in the preceding paragraphs as if fully set

 9 forth herein.

10          73.    Upon information and belief, at the time Defendant adopted and began using

11 marks that are the same and/or confusingly similar to SUNBURST Marks and since that time,

12 Defendant knew and has known that Sunburst is in the business of providing shutters and

13 advertises its shutters on the Internet using SUNBURST Marks.

14          74.    Defendant committed acts intended or designed to disrupt Sunburst’s prospective

15 economic advantage arising from providing these services.

16          75.    Defendant’s actions have disrupted or are intended to disrupt Sunburst’s business

17 by, among other things, diverting web users away from Sunburst’s website to Defendant’s

18 website using the SUNBURST Marks to divert sales and deceive consumers.

19          76.    Defendant has no legal right, privilege or justification for its conduct.

20          77.    As a direct and proximate result of Defendant’s intentional interference with

21 Sunburst’s prospective economic advantage, Sunburst has suffered, and will continue to suffer,

22 monetary damages and irreparable injury.

23          78.    Based on the intentional, willful and malicious nature of Defendant’s actions,

24 Sunburst is entitled to recover monetary damages, exemplary or punitive damages and

25 reasonable attorneys’ fees and costs incurred in connection with this action.

26                                  6.      PRAYER FOR RELIEF
27          WHEREFORE, Sunburst respectfully prays that the Court grant the following relief:
28          A.     A preliminary and permanent injunction prohibiting Defendant, Defendant’s


                                                     11
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 1 officers, agents, servants, employees and/or all persons acting in concert or participation with

 2 Defendant, from using SUNBURST Marks or confusingly similar variations thereof, alone or in

 3 combination with any other letters, words, letter strings, phrases or designs, in commerce or in

 4 connection with any business or for any purpose whatsoever (including, but not limited to, on

 5 websites, in domain names, in hidden text and metatags, its Internet advertising, and in its

 6 promulgation of commercial activities);

 7          B.     An award of compensatory, consequential, statutory, and/or punitive damages to

 8 Sunburst in an amount to be determined at trial;
 9          C.     An award of interest, costs and attorneys’ fees incurred by Sunburst in

10 prosecuting this action; and

11          E.     All other relief to which Plaintiff is entitled.

12          DATED January 18, 2019.

13                                                 HUTCHISON & STEFFEN, PLLC
14
                                                   /s/ Matthew K. Schriever
15
                                                   Mark A. Hutchison (4639)
16                                                 Matthew K. Schriever (10745)
17                                                 Attorneys for Plaintiff
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